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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF MARYLAND



Chambers of                                                                              101 West Lombard Street
J. Mark Coulson                                                                         Baltimore, Maryland 21201
U.S. Magistrate Judge                                                          MDD_JMCChambers@mdd.uscourts.gov
                                                                                             Phone: (410) 962-4953
                                                                                               Fax: (410) 962-2985



                                                February 16, 2021



      LETTER TO COUNSEL

                 ORDER RESCHEDULING SETTLEMENT CONFERENCE
              RE:    Kubas v. 331B, LLC
                     Civil Case No.: 1 :20-cv-02456-DLB

       Dear Counsel:

      Please be advised I am rescheduling the settlement conference from March 1, 2021 to May 4,
      2021 at 10:00 a.m., and it will be held via ZOOMGOV unless advised otherwise. Please
      forward to my Chambers as soon as possible the names of the attendees and their email
      addresses for the ZOOMGOV set up. Please review this letter carefully, as it is an Order of
      the Court that establishes certain prerequisites that must be fulfilled prior to the
      commencement of the settlement conference.

      Virtual Settlement Conference Protocol:

              PRIVACY AND CONFIDENTIALITY
              All participants and attendees in this mediation, including every person who may
              participate by telephone, video, e-mail, text, or other means, agree that all
              communications related to the mediation, and all negotiations and settlement
              discussions, communicated in any medium, are private and confidential.



    Northern Division • 4228 U.S. Courthouse • 101 W. Lombard Street • Baltimore, Maryland 21201• 410-962-2600

    Southern Division • 200 U.S. Courthouse • 6500 Cherrywood Lane • Greenbelt, Maryland 20770 • 301-344-0660



                               Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
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       ASBOLUTE PROHIBITION ON RECORDING

       You, or anyone on your behalf, may NOT audio or video record any mediation session
       or portion thereof. If you learn of an audio or video recording of any session, you shall
       take immediate measures to destroy the recording and will not disseminate the
       recording to third parties. You further agree that you will not transmit a live or
       deferred video or audio relay of the online mediation sessions to third parties.

       INADVERTANT PRIVACY FAILURE

       In the unlikely event that you are placed into what is meant to be a private and
       confidential space such as a “breakout room” and find that you nonetheless can hear or
       otherwise have access to the confidential conversations or information of others, you
       should immediately take steps to correct this and immediately contact the mediator.

It is essential that the parties, or in the case of a corporation, partnership, or government entity,
a representative, with complete authority to enter into a binding settlement, be present in person.
A person with “complete authority” is someone who has the experience and judgment to exercise
that authority without having to consult with anyone who is not in attendance at the settlement
conference. Please provide the name and title of the individuals who will be attending the
settlement conference. Please note that non-parties (other than counsel) should not attend the
conference absent prior approval from opposing counsel and the Court. Additionally, because of
limited space, the Court cannot accommodate minor children who are not parties to the case.
Attendance by the attorney for a party is not sufficient. Please also be advised that the conference
should conclude by 4:00 p.m., and all those in attendance should plan accordingly.

I   would      like    to    receive a short/updated ex  parte letter    by email
(mdd_jmcchambers@mdd.uscourts.gov) by April 20, 2021, if there are any updates. The
updated ex parte letter should NOT EXCEED FIVE PAGES, from each party and should
candidly set forth the following:

   (1) facts you believe you can prove at trial;

   (2) the major weaknesses in each side’s case, both factual and legal;

   (3) reference to any pending dispositive or other motions that would have a significant effect
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       on settlement for the Court to review prior to settlement (please include a copy of the
       motion(s) and the docket number(s) and highlight and tab the relevant portions);

   (4) an evaluation of the maximum and minimum damage awards you believe likely, and the
       mount of any existing liens;

   (5) the history of any settlement negotiations to date;

   (6) estimate of attorneys’ fees and costs of litigation through trial; and


    (7) the name and title of the individual(s) who will be attending the conference.
The letters may be submitted ex parte and will be solely for my use in preparing for the settlement
conference. I also will review select pleadings in the court file. Additionally, if you want me to
review any case authorities that you believe are critical to your evaluation of the case, please
identify. If you want me to review any exhibits or deposition excerpts, please attach a copy to
your letter by email. A paper copy of all attachments exceeding 25 pages should be mailed or
hand delivered to chambers.

Since settlement conferences are often more productive if the parties have previously exchanged
demands and offers and have made a good faith effort to settle the case on their own, I require
that the plaintiff submit a written itemization of damages and a settlement demand to the
defendant no later than one month prior to the settlement conference. The defendant shall submit
a written offer to the plaintiff and any alternate itemization of damages within one week of
receiving the demand or no later than three weeks prior to the settlement conference, whichever
is later. Thereafter, the parties should continue to engage in negotiations. The correspondence
between the parties shall be included with the ex parte letters submitted to the Court.

    FAILURE TO COMPLY WITHOUT JUSTIFICATION MAY RESULT IN THE
                     IMPOSITION OF SANCTIONS

If counsel believes that a telephone conference prior to May 4, 2021would make the settlement
conference more productive, please contact my judicial assistant, Debbie Wengert-Rippetoe
(Deborah_Wengert-Rippetoe@mdd.uscourts.gov), to make arrangements.

The settlement conference process will be confidential, and disclosure of confidential dispute
resolution communications is prohibited. See 28 U.S.C. § 652(d); Local Rule 607.4.
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Notwithstanding the informal nature of this letter, it is an Order of the Court and the Clerk is
directed to docket it as such.

I look forward to seeing you on May 4, 2021.



                                           Sincerely yours,




                                            J. Mark Coulson
                                            United States Magistrate Judge


cc:   Court File
      The Honorable Deborah L. Boardman
